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                                                                 Exhibit One
 STATE OF SOUTH CAROLINA                       )
                                               )      IN THE COURT OF COMMON
                                                               PLEAS
 COUNTY OF RICHLAND                            )

 Antonyo A. Martin, Sr.                 ) Case No.: 2018-CP-40-__________
                                        )
                      Plaintiff,        )
                                        )
        v.                              )            SUMMONS
                                        )       (Jury Trial Demanded)
 South     Carolina    Department    of )
 Corrections, Correctional Officer John
 Doe, Correctional Officer Richard Roe,
 and Inmate John Doe,
                                        )
                      Defendants.       )
       TO THE DEFENDANTS NAMED ABOVE:

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in
this Action, a copy of which is herewith served upon you, and to serve a copy of your
Answer to the said Complaint upon the subscriber at Austin & Rogers, P.A., 508
Hampton Street, Suite 203, Post Office Box 11716, Columbia, SC 29201, Counsel for
Plaintiff, within thirty (30) days after service hereof, exclusive of the day of such service;
and if you fail to answer the Complaint within the time aforesaid, judgment by default
will be rendered against you for the relief demanded in the Complaint.


                                                       Respectfully submitted,
                                                       AUSTIN & ROGERS, PA

                                                       s/ W. Michael Duncan
                                                       W. Michael Duncan
                                                       508 Hampton Street, Suite 203
                                                       Post Office Box 11716 (29211)
                                                       Columbia, South Carolina 29201
                                                       (803) 256-4000
                                                       (803) 252-3679 facsimile
                                                       wmduncan@austinrogerspa.com

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Columbia, South Carolina
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 STATE OF SOUTH CAROLINA                     )
                                             )       IN THE COURT OF COMMON
                                                              PLEAS
 COUNTY OF RICHLAND                          )

 Antonyo A. Martin, Sr.                 )           Case No.: 2018-CP-40-__________
                                        )
                      Plaintiff,        )
                                        )
        v.                              )                     COMPLAINT
                                        )                 (Jury Trial Demanded)
 South     Carolina    Department    of )
 Corrections, Correctional Officer John
 Doe, Correctional Officer Richard Roe,
 and Inmate John Doe,
                                        )
                      Defendants.       )

        Plaintiff Antonyo A. Martin, Sr., complaining of the Defendants would allege and
show unto the Court as follows:
        1.     This is an action for relief brought pursuant to the Tort Claims Act of South
Carolina, S.C. Code Section 15-78-10 et seq. (hereinafter referred to as the Tort Claims
Act), 42 U.S.C. Section 1983, and the Fifth, Eighth and Fourteenth Amendments to the
United States Constitution.
        2.     Plaintiff is a citizen and resident of Richland County, South Carolina.
        3.     Defendant South Carolina Department of Corrections (hereinafter referred
to as "Defendant SCDC") is a "governmental entity" organized and existing under the laws
of the State of South Carolina and within the meaning of the South Carolina Tort Claims
Act at South Carolina Code Ann. Section 15-78-30(d).
        4.     On information and belief, Defendant Correctional Officer John Doe was
and, at all times relevant hereto, employed as a correctional officer at Ridgeland
Correctional Institution in Ridgeland, South Carolina and was acting individually and/or
as an agent and/or employee in the course and scope of his official duty with the Defendant
SCDC.
        5.     On information and belief, Defendant Correctional Officer Richard Roe was
and, at all times relevant hereto, employed as a correctional officer at Ridgeland
Correctional Institution in Ridgeland, South Carolina and was acting individually and/or


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as an agent and/or employee in the course and scope of his official duty with the Defendant
SCDC.
        6.     On information and belief, Defendant Inmate John Doe is an inmate within
the SCDC who was at the relevant time referenced in this Complaint housed at Allendale
Correctional Institution.
        7.     On information and belief, Defendant Inmate Doe was housed at the same
institution as Plaintiff (Ridgeland Correctional Institution) in July 2016 and was involved
in an altercation with other inmates which resulted in his transfer to Allendale Correctional
Institution. Plaintiff was not involved at all in the July 2016 altercation at Ridgeland
Correctional Institution, but was aware of it by virtue of his being housed at Ridgeland.
        8.     As Defendant SCDC is headquartered in Richland County, South Carolina,
and Plaintiff is a citizen of Richland County, Plaintiff is informed and believes that venue
is proper in this Court.
        9.     Plaintiff is a physically handicapped person with left side paralysis.
Plaintiff has limited use of his hand and walks with a significant limp. These physical
limitations are obvious to any reasonable person who encounters Plaintiff.
        10.    On September 12, 2016 Plaintiff was an inmate within the SCDC and was
being transported from Ridgeland Correctional Institution to the Broad River Road
complex in Columbia for a medical procedure due to his disabilities. For transport
purposes on the bus, Plaintiff was shackled. Inmate Doe boarded the bus at Allendale
Correctional Institution. While shackled, Plaintiff was attacked by Inmate Doe while the
bus was parked at Allendale Correctional Institution. Inmate Doe head-butted Plaintiff,
splitting open his right eye; Inmate Doe then knocked Plaintiff to the floor of the bus
causing him further injuries.
        11.    Defendants Correctional Officer Doe and Correctional Officer Roe were the
officers (driver and passenger) on board the bus during the transport. However, at the time
of the incident referred to above, neither of the correctional officers was present on the bus
leaving the inmates alone on the bus in violation of SCDC policies and procedures.
        12.    The gross negligence of Defendants Correctional Officer Doe and
Correctional Officer Roe in failing to be present at their post was a proximate cause of the




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incident which resulted in significant injury to the Plaintiff including a permanent scar to
his right eye, pain and suffering, and mental anguish.
       13.      Plaintiff was initially treated for his injuries (patched up) while the bus was
at Allendale Correctional Institution.      He received additional treatment at Kirkland
Correctional Institution within the SCDC later on the date of the incident; he received
stitches over his right eye. The stitches were removed eight days later. Plaintiff also
received additional medical treatment during the last six weeks of his sentence at SCDC.
Plaintiff made parole in October 2016 and was released from SCDC custody on October
31, 2016 after serving just over thirteen months.
       14.      As a result of the gross negligence of the Defendants, Plaintiff continues to
endure pain and suffering and mental anguish.
       15.      Plaintiff Martin seeks actual and punitive damages in an amount to be
determined by a jury.


                        FOR A FIRST CAUSE OF ACTION
  (Violation of Civil Rights and 42 USC Section 1983; General Allegations against
   Defendant Correctional Officer Doe and Defendant Correctional Officer Roe)


       16.      Plaintiff reiterates all the allegations contained herein as fully as if repeated
herein verbatim.
       17.      Defendants herein acted in a grossly negligent, reckless, willful, wanton and
with a deliberate indifference to the right of the Plaintiff in the following particulars:
             a. In allowing uncontrolled violence in the transport of the inmates;
             b. In failing to provide protection and security for the Plaintiff;
             c. In failing to comply with SCDC policies and procedures regarding
       correctional officers remaining at their posts supervising inmates during transport;
             d. In such other particulars as the evidence at trial will show.
       18.      In committing the acts and omissions herein, Defendant Correctional
Officer Doe and Defendant Correctional Officer Roe acted under color of state law to
deprive Plaintiff of certain constitutionally protected rights under the Fifth, Eighth, and
Fourteenth Amendments to the Constitution of the United States and the Constitution of




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the State of South Carolina, including, but not limited to: 1) due process of law, and 2) the
right to be free from cruel and unusual punishment.
       19.      In violating Plaintiffs rights as set forth above and other rights, Defendants
caused Plaintiff to suffer actual and consequential damages as alleged in this Complaint
and Plaintiff is entitled to relief under 42 U.S.C. Section 1983 for ACTUAL,
CONSEQUENTIAL and PUNITIVE damages and ATTORNEY’S FEES.


                      FOR A SECOND CAUSE OF ACTION
(Violation of Tort Claims Act of South Carolina, S.C Code Section 15-78-10 et. seq.\
                       Allegations against Defendant SCDC)

       20.      Plaintiff reiterates all the allegations contained herein as fully as if repeated
herein verbatim.
       21.      Defendant SCDC is liable for the acts of its employees, as they were acting
within the course and scope of their official duties pursuant to South Carolina Code Ann.
Section 15-7810, et. seq.     Defendants SCDC, Defendant Correctional Officer Doe and
Defendant Correctional Officer Roe acted in a negligent, grossly negligent, reckless,
willful and wanton manner in causing injury to the Plaintiff in the following particulars:
             a. In allowing uncontrolled violence in the transport of the inmates;
             b. In failing to provide protection and security for the Plaintiff;
             c. In failing to comply with SCDC policies and procedures regarding
       correctional officers remaining at their posts supervising inmates during transport;
             d. In such other particulars as the evidence at trial will show.
       22.      As a direct and proximate result of the grossly negligent and reckless acts
of the Defendants, Plaintiff was injured and damaged and is entitled to ACTUAL and
CONSEQUENTIAL damages.

                          FOR A THIRD CAUSE OF ACTION
                (Assault and Battery - as to Defendant Inmate John Doe)


       23.      Plaintiff reiterates each and every allegation contained herein as fully of if
repeated herein verbatim.




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       24.     Defendant Inmate John Doe, in violation of South Carolina Code § 16-3-
600, assaulted and battered Plaintiff by intentionally head-butting him and then knocking
him to the floor of the bus, causing him great bodily injury and mental anguish.
       25.     Defendant Inmate John Doe assaulted and battered Plaintiff’s person and as
a direct and proximate result, Plaintiff has been injured and damaged and is entitled to
ACTUAL, CONSEQUENTIAL and PUNITIVE DAMAGES.


       WHEREFORE, having fully complained of the Defendants, Plaintiff Antonyo A.
Martin, Sr., prays for the following relief:
         a. Actual and consequential damages against all Defendants in an amount to be
             determined by a jury for the personal injuries, pain and suffering, and mental
             anguish he suffered in the attack;
         b. Punitive damages, except as to Defendant SCDC;
         c. Attorney’s fees and costs associated with this action pursuant to 42 USC
             Section 1983; and
         d. Such other relief as is just and proper.


                                                        Respectfully submitted,
                                                        AUSTIN & ROGERS, PA


                                                        s/ W. Michael Duncan
                                                        W. Michael Duncan
                                                        508 Hampton Street, Suite 203
                                                        Post Office Box 11716 (29211)
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